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                              EXHIBIT 
               Case 2:24-cv-00757-JRG                            Document 35-13 Filed 11/25/24                                          Page 2 of 2 PageID #:
                                                                            1070
                                                    Texas Franchise Tax Public Information Report
12\       Comptroller   05-102                To be filed by Corporations, Limited Liability Companies (LLC) and Financial Institutions
~ o!Public              (Rev.9-11/30)            This report MUST be signed and filed to satisfy franchise tax requirements
     A                  ■ Tcode 13196 Franchise
■ Taxpayer number                                                            ~■-R_e....;p~o_rt""'y'"'e_a_r~-~ You have certain rights under Chapter 552 and 559, Government Code,
                                                                                                        to review, request, and correct information we have on file about you.
     3 2 0 8 9                          7 4 0 1 8 0                               2 0 2 4               Contact us at (800) 252-138/or (512) 463-4600.
Taxpayer name
                         AVANT LOCATION TECHNOLOGIES LLC
Mailing address                                                                                                                                  Secretary of State (SOS) file number or
1-=------1_0_4_E_H_O_U_S_T_O_N_S_T_S_T_E~14_0_______~=~~--~~--------lcomptroller file number
City                                                        State                                 ZIP Code               Plus 4
                            MARSHALL                                         TX                        75670                                                       0805045691
Q         Blacken circle if there are currently no changes from previous year; if no information is displayed, complete the applicable information in Sections A, Band C.
Principal office

Principal place of business


                , . I. ,/_         Officer, director and manager information is reported as of the date a Public Information
f'Ullll llfll tllllM'/ Report is completed. The information is updated annually as part of the franchise tax
 -                          -      report. There is no requirement or procedure for supplementing the information as
                                   officers, directors, or managers change throughout the year.
                                                                                                                                                  1111111111111111111 IIIII IIIII 111111111111111111111111111111111
SECTION A Name, title and mailing address of each officer, director or manager.                                                                                3208974018024
Name                                                                      Title                                          Director                              m    m    d   d                      y        y

     DEEPAK SHARMA                                                                      OFFICER                          Q YES            Term
                                                                                                                                          expiration
                                                                                                                                                     I
                                                                                                                                                                     I        I        I        I        I
Mailing address                                                           City                                                           State                                 ZIP Code
                                                                                                                                                                              I
     104 E HOUSTON ST STE 140                                                                  MARSHALL                                               TX                                   75670
Name                                                                      Title                                          Director                              m         m        d         d       y        y

                                                                                                                         Q YES            Term
                                                                                                                                          expiration
                                                                                                                                                     I
                                                                                                                                                                     I        I        I        I        I
Mailing address                                                           City                                                           State                                IZIP Code

Name                                                                      Title                                          Director                              m         m        d         d       y        y

                                                                                                                         Q YES            Term
                                                                                                                                          expiration
                                                                                                                                                     I
                                                                                                                                                                     I        I        I        I        I
Mailing address                                                           City                                                           State                                IZIP Code

SECTION B Enter the information required for each corporation or LLC, if any, in which this entity owns an interest of 1O percent or more.
Name of owned (subsidiary) corporation or limited liability company                      State of formation                  Texas SOS file number, if any Percentage of ownership

Name of owned (subsidiary) corporation or limited liability company                      State of formation                  Texas SOS file number, if any Percentage of ownership


SECTION C Enter the information required for each corporation or LLC, if any, that owns an interest of 1O percent or more in this entity or limited
          liability company.
Name of owned (parent) corporation or limited liability company                          State of formation                  Texas SOS file number, if any Percentage of ownership


Registered agent and registered office currently on file. (see instructions if you need to make changes)                          Blacken circle if you need forms to change
 Agent:     RAFI UDDIN                                                                                                   0        the registered agent or registered office information.

Office:     1400 PRESTON RD SUITE 400                                                                                PLANO                            !State TX                    IZIP c~%l>93

The above information is required by Section 171.203 of the Tax Code for each corporation or limited liability company that files a Texas Franchi se Tax Report. Use additional sheets
for Sections A, B, and C, if necessary. The information will be available for public inspection.
 I declare that the information in this document and any attachments is true and correct to the best of my knowledge and belief, as of the date below, and that a copy of this report has
 been mailed to each person named in this report who is an officer, director or manager and who is not currently employed by this, or a related, corporation or limited liability company.
Sign~
nere, Rafi Uddin                                                                   !Title Electronic                 !Date
                                                                                                                     I        05-15-2024                   I( 214) 600 - 8084
                                                                                                                                                            Area code and phone number



                                                                    Texas Comptroller Official Use Only

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